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 5
 6
 7
                              UNITED STATES DISTRICT COURT
 8
 9                        EASTERN DISTRICT OF CALIFORNIA

10                                  FRESNO DIVISION
11
     UNITED STATE OF AMERICA,               )    CASE NO. 1:09-cr-00272 AWI
12                                          )
                 Plaintiff,                 )
13        vs.                               )    ORDER TO CONTINUE
14
                                            )    SENTENCING DATE
     JOSE BUSTOS-VARGAS,                    )
15                                          )
                 Defendants.                )
16                                          )
                                            )
17                                          )
                                            )
18
           IT IS HEREBY ORDERED AND GOOD CAUSE APPEARING, based
19
20   upon the stipulation of the parties, the COURT grants the defendant Jose Bustos-

21   Vargas’ request to vacate the sentencing hearing date of July 30, 2012.
22         IT IS FURTHER ORDERED that the matter be set for sentencing on
23   August 27, 2012 at 1:30 p.m.
24   IT IS SO ORDERED.
25
     Dated:     July 26, 2012
26   9h0d30                           CHIEF UNITED STATES DISTRICT JUDGE
27
28
